              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
            CRIMINAL CASE NO. 3:07-CR-00211-MR-DCK


 UNITED STATES OF AMERICA,                      )
                                                )
                    Plaintiff,                  )
                                                )
        vs.                                     )
                                                            ORDER
                                                )
 VICTORIA L. SPROUSE,                           )
                                                )
                    Defendant.                  )
                                                )

      THIS MATTER is before the Court by the request of the Clerk of Court

to exonerate the Defendant’s Appearance Bonds [Docs. 14, 232, 233, 238],

as well as a Note and a Deed of Trust on file with the Clerk.

      The Defendant was placed on pretrial release on November 26, 2007

upon executing an unsecured Appearance Bond in the amount of $100,000.

[Doc. 14]. Following the return of the jury’s verdict on April 1, 2009, the Court

ordered the Defendant to be released pending sentencing upon execution of

a secured Appearance Bond in the amount of $100,000. [Doc. 232].1 To

secure this bond, the Defendant submitted a second Appearance Bond




1 A duplicate of this Appearance Bond appears on the docket as Document 233.




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signed by herself and two sureties [Doc. 238], along with a Note and Deed

of Trust [Receipt 44683].

     On April 15, 2014, the Court sentenced the Defendant to a term of 78

months’ imprisonment. [Doc. 479]. Thereafter, the Defendant appealed to

the Fourth Circuit Court of Appeals. [Docs. 485, 487]. On April 20, 2016,

the Fourth Circuit remanded the case to this Court for further consideration

in light of Luis v. United States, 136 S.Ct. 1083 (2016). [Doc. 516]. While

this matter was pending, the parties submitted a Plea Agreement pursuant

to which the Defendant agreed to dismiss her pending appeal. [Doc. 522].

The Court accepted the Defendant’s guilty plea and resentenced her on June

23, 2016 to a term of 30 months’ imprisonment. [Doc. 526]. The Defendant

was immediately remanded to the custody of the United States Marshal and

transferred back to the Bureau of Prisons for the completion of her sentence.

[Doc. 513].

     In light of these events, there is no further liability on the Defendant’s

bonds. Accordingly, the Clerk requests the exoneration of all Appearance

Bonds entered in this case, as well as the Note and Deed of Trust on file with

the Clerk. Upon consideration of the Clerk’s request, and for cause shown,

the Court hereby enters the following order.




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     IT IS, THEREFORE, ORDERED that the Defendant’s Appearance

Bonds [Docs. 14, 232, 233, 238], as well as the Note and Deed of Trust on

file with the Clerk [Receipt 44683] are hereby exonerated. The Clerk of Court

shall write across the face of each of the original Appearance Bonds that

each has been exonerated, shall scan such writing into the record, and shall

return the original Appearance Bonds, as well as the Note and Deed of Trust

and a copy of this Order, to the Defendant’s counsel. The Clerk shall also

provide a copy of this Order to the Defendant.

                                      ITIS SO ORDERED.

                                         Signed: September 2, 2016




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